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iJEMO ENDORSED                                       May 30, 2024
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 VIAECF
 The Honorable Louis L. Stanton
 United States District Court
 Southern District of New York
 500 Pearl Street
 New York, NY I 0007




        Re:     Mullen Automotive Inc., et al. v. IMC Financial Markets, et al., Case No. 1:23 -cv-
                10637 (the "Case"): Defendant IMC Financial Markets' Motion for Sanctions and
                Costs Against Plaintiffs and Their Counsel



 Dear Judge Stanton:

         My firm represents Plaintiffs in the above-referenced Case. This letter is to inform the
 Court that I have reached an agreement with Mr. Ryan Phair of Paul Hastings LLP on behalf of           ~O                                    .J.
 his client, IMC Financial Markets whereby we agree I have until Tuesday, June 4, 2024 to responcf·- ·1 0 ~
 to the May 24, 2024, letter filed by Mr. Phair, i.e., a pre-motion conference letter in connection            .
 with IMC Financial Markets' proposed Motion for Sanctions and Costs Against Plaintiffs and its        l-6',\,vS '\....
 Counsel[Docket Entry 40] ("Rule 11 Letter"), subject, of course, to Your Honor's approval. Mr.            ~ ~                          f
 Phair has approved this Letter in its entirety.

        The reasons for this request are as follows:

    1. From inception of the Case, Plaintiffs have been represented by two firms : (a) Warshaw
       Burstein LLP of New York ("WB"); and (b) Christian Attar of Houston, Texas ("CA").
    2. On Tuesday, May 28, 2024, WB filed its motion to withdraw as counsel for Plaintiffs due
       to a disagreement with the client as to how the Case is being handled and for the other
       reasons set forth in their motion to withdrawal. That motion was granted today.
    3. In the Case, WB was acting as lead counsel as the firm was primarily responsible for
       drafting all pleadings, interfacing with opposing counsel, and acting as Plaintiffs local




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         Case
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      counsel. As such, Plaintiffs will now be required to act as lead counsel on all matters,
      including responding to the Rule 11 Letter.
   4. This request is not sought for delay but in the interest of justice and fair play.

                                           Respectfully,
                                           /James W Christiani
                                           James W. Christian
                                           Christian Attar

cc: All Counsel of Record
